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                  IN THE IMITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MONTANA
                            MISSOULA DIVISION                    P A T R ' c ~E. DUFF^, C L E R ~
                                                              BY
                                                               GK-                 M ~ s s o ~ ~

UNITED STATES OF AMERICA,
                                                CR 08-09-M-DWM
                        Plaintiff,
                                                FINDINGS & RECOMMENDATION
                                                CONCERNING PLEA


JANE TATE,

                        Defendant.


     The Defendant, by consent, has appeared before me under Fed.

R. Crim. P. 11 and has entered a plea of guilty to two counts of

bank/credit union fraud in violation of 18 U.S.C. § 13442(2)

(Counts I &II) as set forth in the Indictment.           In exchange for

Defendant's plea, the United States has agreed to dismiss Counts

111-VI of the Indictment.

    After examining the Defendant under oath, I have made the

following determinations:

     1.    That the Defendant is fully competent and capable of

entering an informed and voluntary plea,

     2.    That the Defendant is aware of the nature of the charges

against her and consequences of pleading guilty to the charges,

     3.    That the Defendant fully understands her constitutional

rights, and the extent to which she is waiving those rights, by

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pleading guilty, and,

     4.    That the plea of guilty is a knowing and voluntary plea,

supported by an independent basis in fact sufficient to prove

each of the essential elements of the offenses charged.

     The Court further concludes that the Defendant had adequate

time to review the Plea Agreement with counsel, that she fully

understands each and every provision of the agreement and that

all of the statements in the Plea Agreement are true.             Therefore,

I recommend that the Defendant be adjudged guilty of Counts I and

I1 of the Indictment, and that sentence be imposed.'            I further

recommend that Counts 111-VI of the Indictment be dismissed.

     This report is forwarded with the recommendation that the

Court defer a decision reqardinq acceptance until the Court has

reviewed the Plea Aqreement and the presentence report.

            DATED this   174 day




       Objections to these Findings and ~ecommendationare waived
unless filed and served within ten (10) days.       28 U.S.C. §
636 (b)(1)(B); Fed. R. Crim. P. 59 (b)(2).

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